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 UNITED STATES COURT OF APPEAL
 FOR THE SECOND CIRCUIT


                                                            Docket # 23-1085
 THE PEOPLE OF THE STATE OF NEW YORK,
                                                            Dismissal of Appeal
                  - against -

 DONALD J. TRUMP,

                                         Defendant.




Donald J. Trump, by and through undersigned counsel, respectfully moves this Court, pursuant to

FRAP 42(b), to dismiss his appeal in this case. Upon information and belief, to date the

government has not borne any costs in this matter.


                                                      Respectfully submitted,

 Dated:         November 14, 2023
                New York, New York

                                                  By: /s/ Todd Blanche
 Gedalia Stern                                    Todd Blanche
 Susan R. Necheles                                Emil Bove
 NechelesLaw LLP                                  Blanche Law PLLC
 1120 6th Ave., 4th Floor                         99 Wall Street, Suite 4460
 New York NY 10036                                New York, NY 10005
 212-997-7400                                     212-716-1260
 gstern@necheleslaw.com                           toddblanche@blanchelaw.com

                                                  Attorneys for President Donald J. Trump




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